Case 1:02-Cv-01222-.]DT Document 163 Filed 06/24/05 Page 1 of 2 Page|D 116

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IN THE uNlTED sTATES DlsTRlCT CoURT 05 ,@{ ”/f _
FOR THE WESTERN DISTRICT OF TENNESSE__E <D,z `\. 352

  

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</»’~:/ .Q/B°}'@€;>
DEMUS RICH and MELBA RiCH, ) Q;E.jp_/\
Individually and as Co-Executors of the ) 'W
Estate of GARY BRIAN RICH, deceased, )
)
Plaintiffs, )
)
VS. ) NO. UZ-IZZZ-T/An
)
CITY OF SAVANNAH, TENNESSEE; )
ET AL., )
)
Defendants. )

 

ORDER OF CONTINUANCE

 

This case is currently scheduled for jury trial on July l l, 2005. However, due to a
criminal proceeding on the same day Which must take precedenee, as Well as the pending
motions for summary judgment, the case is hereby continued The trial is reset for OCtober
l l, 2005, at 9:30 a.m. The joint pre-trial order Will be due on or before September 30, 2005.

lT IS SO ORDERED.

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JA S D. TODD
UN ED STATES DISTRICT JUDGE

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DATE

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with Rule 58 and!or_79 (a) FRCP on él£{ 0'2 g t 0 5

UNITED `sATTEs DlsTRIC COURT - W'"ERNT D's'TRCT oFTENNEssEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 163 in
case 1:02-CV-01222 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

 

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